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        DECLARATION OF
        JOSEF ANSORGE
       ISO GOOGLE LLC’S
         OPPOSITION TO
           PLAINTIFFS’
         MOTION FOR AN
            ORDER OF
         SANCTIONS FOR
            GOOGLE’S
           DISCOVERY
          MISCONDUCT

        Redacted Version
      of Document Sought
          to be Sealed
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17                               UNITED STATES DISTRICT COURT
18                NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION
19
      PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
20    themselves and all others similarly situated,
                                                      DECLARATION OF JOSEF ANSORGE
21
             Plaintiffs,                              IN SUPPORT OF GOOGLE LLC’S
22                                                    OPPOSITION    TO   PLAINTIFFS’
             v.                                       MOTION FOR AN ORDER OF
23                                                    SANCTIONS    FOR    GOOGLE’S
      GOOGLE LLC,                                     DISCOVERY MISCONDUCT
24

25           Defendant.                               The Honorable Susan van Keulen
                                                      Date: August 11, 2022
26                                                    Time: 9:30 a.m.

27
                                                      Trial Date:   None Set
28

                                                                  Case No. 4:20-cv-05146-YGR-SVK
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 1          I, Josef Ansorge, declare as follows:

 2          1.       I am of counsel at Quinn Emanuel Urquhart & Sullivan LLP, which serves as

 3 Google’s outside counsel in this litigation. I submit this declaration in support of Google’s

 4 Opposition to Plaintiffs’ Motion for an Order of Sanctions for Google’s Discovery Misconduct.

 5          2.       I make this declaration of my own personal, firsthand knowledge, and if called as a

 6 witness, I could and would testify competently thereto.

 7 Preservation and Production of Plaintiff Data Prior to the Special Master’s Appointment

 8          3.       In September 2020, Google preserved data related to the Google Accounts Plaintiffs

 9 indicated were associated with the Named Plaintiffs in the Complaint, including: (1) Google

10 Account subscriber information, which contains, among other information, Google Account name,

11 Google Account ID, date of account creation, email address, alternative email address, IP addresses

12 and User Agents related to the Account holder’s sign-ins; and (2) My Activity information, which

13 includes URL information on browsing activity and time stamps (if not deleted by the Account

14 holder), and additional data related to Plaintiffs’ activity on websites that used Ad Manager or

15 Analytics services.

16          4.       On September 30, 2020, Google served upon Plaintiffs its Objections and Responses

17 to Plaintiffs’ Request for Production No. 5 requesting “[d]ocuments, data and information related

18 to or associated with the Plaintiffs.” In its response, Google stated: “Google will produce non-

19 privileged, non-work product, relevant information associated with Plaintiffs’ Google Account

20 names and email addresses identified in the Complaint, so long as Plaintiffs can identify specific

21 relevant information associated with their Accounts and email addresses.” Dkt. 166 at 3. Google

22 objected to the extent Plaintiffs’ request also sought data that is not keyed to a Google Account, but

23 rather keyed to pseudonymous cookies set on a browser, stating that “browsing data could relate to

24 an individual who was using the same device as Plaintiffs,” and “[a]ccordingly, Plaintiffs would not

25 be able to provide lawful consent.” Dkt. 151-4 at 7.

26          5.       During the ESI protocol negotiations from October 2020 through January 2021,
27 Plaintiffs requested that Google categorically preserve log data from “system, server, and network

28 logs”. See Dkt. 109-4 ¶¶ 3–6. Google objected to Plaintiffs’ demand because of the technical and

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 1 financial burden it would impose on Google. Id. On January 21, 2021, Plaintiffs sent Google a letter

 2 claiming that Google’s position constituted a “spoliation issue”. Id. ¶ 7; Dkt. 109-5 at 1.

 3          6.       Google was concerned by Plaintiffs’ accusations of spoliation and the substantial

 4 challenges involved in meeting the preservation obligations Plaintiffs requested. In response,

 5 Google: (1) engineered pipelines to preserve event-level data associated with the Named Plaintiffs’

 6 GAIA IDs in February 2021 (the “Litigation Hold Data”); and (2) filed an emergency Motion for A

 7 Protective Order on February 17, 2021 (Dkt. 108-4). The engineering work was completed in March

 8 2021. The data was preserved in a raw format, which is not optimized for, e.g., searching or

 9 analyzing, to ensure prompt preservation.

10          7.       Following the March 5, 2021 hearing on the Motion for A Protective Order, the Court

11 ordered the parties to meet and confer regarding “a narrow production of documents” regarding data

12 dictionaries, database architecture documentation, and technical documentation in advance of a Rule

13 30(b)(6) deposition on the relevant logs and retention practices (“March 5, 2021 Order”). Dkt. 129.

14 Google produced the requested documents on March 30, 2021 (GOOG-CALH-00027166–GOOG-

15 CALH-00027457).

16          8.       On April 1, 2021, the parties submitted a joint letter brief regarding the production

17 of documents pursuant to the March 5, 2021 Order. Dkt. 151-4. On April 5, 2021, the Court ordered

18 Plaintiffs to email consent forms from their Google Accounts, and Google to provide “a sample

19 from each of the four categories of logs discussed at the hearing for each named Plaintiff.” Dkt.

20 155.

21          9.       Pursuant to the April 5, 2021 Order, Plaintiffs provided consent forms for various

22 Google Accounts on April 5, April 6, May 17, June 23, July 15, August 9, and September 8, 2021.

23 Google produced the requested sampled data, additional technical documentation, and Plaintiffs’

24 Google Account subscriber information and My Activity information on April 6 and April 7, 2022

25 (GOOG-CALH-00027458–GOOG-CALH-00027821).

26          10.      On April 9, 2021, Google produced a Rule 30(b)(6) witness to testify on the relevant
27 logs and retention practices. Attached hereto as Exhibit 1 is a true and correct copy of excerpts from

28

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 1 the transcript of the April 9, 2021 Rule 30(b)(6) deposition of Google’s corporate designee David

 2 Monsees.

 3          11.     On April 20, 2021, the parties submitted a joint chart regarding various discovery

 4 disputes, including Dispute 1.3 regarding “Plaintiffs’ RFP No. 5, request for data associated with

 5 Plaintiffs or their PI.” Dkt. 164 at 3.

 6          12.     The Court held a discovery hearing on April 29, 2021. At the hearing, Plaintiffs

 7 acknowledged that “a device that’s linked to a named Plaintiff . . . may also be [associated with

 8 activity by] your spouse if there’s two people sharing the same device.” Plaintiffs maintained the

 9 position that the data at issue must be produced. 4/29/21 Hr’g Tr. at 44:24–45:6. A true and correct

10 copy of excerpts of the April 29, 2021 hearing transcript is attached hereto as Exhibit 2.

11          13.     On April 30, 2021, the Court ordered Google to produce data associated with Named

12 Plaintiffs, including, “device data associated with any Plaintiff,” and “recogniz[ed] that additional

13 disputes regarding the available data may arise.” Dkt. 173-1 at 1–2 (Disputes Nos. 1.3, 2.2).

14          14.     On the same day, the Court entered the Protective Order, which provided that

15 “Google need not suspend its standard retention periods applicable to data logs that reflect event-

16 level data of Chrome users in the United States.” Dkt. 174.

17          15.     On May 6, 2021, the parties submitted a joint discovery chart, in which Plaintiffs

18 took the position that “Google represents that it will produce plaintiff profiles, web browsing history

19 and other information associated with their Google accounts and associated with the small universe

20 of other identifiers that Plaintiffs happened to discover during the investigation of claims in this

21 case. But Google refuses to disclose the other identifiers (likely the vast majority of Plaintiffs’

22 identifiers) and produce plaintiff information associated with those as well.” Dkt. 178 at 3 (Dispute

23 No. 1.3). Google stated that “Google is identifying data associated with the authenticated and

24 unauthenticated identifiers that Plaintiffs provided . . . and will produce by May 12. Plaintiffs have

25 failed to identify or describe with any precision the ‘other identifiers’ Google refuses to produce.”

26 Id.
27          16.     On May 12, 2021, Google produced                    data associated with Plaintiffs’

28 Google Accounts (data tied to authenticated identifiers), Analytics data associated with the CID

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 1 values Plaintiffs provided (data tied to unauthenticated identifiers), and               Ads log data

 2 associated with Biscottis extracted from the IDE cookie values Plaintiffs provided (data tied to

 3 unauthenticated identifiers) (GOOG-CALH-00039102–GOOG-CALH-00039130). On May 14,

 4 2022, Google produced X-Client Data Header information associated with ad events associated with

 5 Plaintiffs’ Google Accounts in Ads logs (GOOG-CALH-00045178).

 6          17.     On May 26, 2021, the parties submitted another joint discovery chart. Dkt. 206.

 7 Plaintiffs stated that “Plaintiffs are aware of only a narrow slice of these identifiers, for example,

 8 those they happened to see during the investigation of claims in this case, and those have been

 9 provided to Google. Google has additional identifiers that should be used to find relevant

10 information, but refuses to do so. . . . Plaintiffs therefore ask for an order compelling Google to

11 search for any identifiers associated with the Plaintiffs, and then in turn produce documents or

12 information associated with them.” Id. at 4. Google stated that “Google has produced reasonably

13 available data tied to the authenticated and unauthenticated identifiers Plaintiffs provided, and that

14 production included data associated with Plaintiffs’ devices/browsers. Because unauthenticated

15 identifiers are pseudonymous, not designed to uniquely identify a user, and may relate to multiple

16 users, Google uses authenticated identifiers (Google Accounts) to determine whether information is

17 associated with any specific individual. And, as Mr. Monsees testified (Tr. 184:12–16), Google fully

18 segregates authenticated from unauthenticated data. Ignoring these facts, Plaintiffs ask this Court to

19 order Google to violate various anti-fingerprinting policies to infer a second order of unauthenticated

20 identifiers that may have come from devices Plaintiffs (in addition to other individuals) may have

21 used. But, because authenticated and unauthenticated data are fully segregated, such information

22 does not exist in the ordinary course of business and is outside scope of Rule 34. Google should not

23 be ordered to create new information at Plaintiffs’ behest.” Id.

24          18.     At the June 2, 2021 hearing, Google repeated that it segregates authenticated and

25 unauthenticated data for privacy reasons, stating that “these are policies that are implemented in

26 Google’s data architecture,” and that “the systems are . . . built to prevent the joining of [the]
27 authenticated and unauthenticated data.” Id. 46:5–9. Plaintiffs maintained the position that Google

28 should override its policy and attempt to identify unauthenticated identifiers that may be associated

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 1 with the devices Plaintiffs used to log into their Google Accounts. 6/2/21 Hrg. Tr. at 38:3–5. A true

 2 and correct copy of excerpts of the June 2, 2021 hearing transcript is attached hereto as Exhibit 3.

 3           19.     On June 4, 2021, Google produced Plaintiffs’ Web and App Activity (“WAA”) and

 4 Supplemental Web and App Activity (“sWAA”) settings (GOOG-CALH-00047632– GOOG-

 5 CALH-00047701).

 6           20.     On June 8, 2021, the Court issued an Order requesting: (1) additional briefing on the

 7 issue regarding production of Plaintiffs’ data following two 30(b)(6) depositions on relevant logs

 8 and retention practices; and (2) briefing with regard to the appointment of a Special Master. Dkt.

 9 220-1 at 1 (Dispute No. 1.3).

10           21.     On June 11, 2021, Google produced a Rule 30(b)(6) witness to testify on the relevant

11 logs. Attached hereto as Exhibit 4 is a true and correct copy of excerpts from the transcript of the

12 June 11, 2021 Rule 30(b)(6) deposition of Google’s corporate designee David Monsees.

13           22.     On June 16, 2021, Google produced additional Google Account subscriber

14 information and My Activity information associated with Plaintiffs’ Google Accounts (GOOG-

15 CALH-00050659–GOOG-CALH-00052098).

16           23.     On June 18, 2021, the parties submitted a Joint Submission re Possible Appointment

17 of A Special Master. Dkt. 222.

18           24.     On June 22, 2021, Google produced additional                   data associated with

19 Plaintiffs’ Google Accounts (GOOG-CALH-00052099–GOOG-CALH-00052101).

20           25.     On June 23, 2021, in response to the June 8, 2021 Order, Plaintiffs submitted a

21 Motion to Compel Production of Plaintiffs’ Information. Dkt. 226. Google submitted its Opposition

22 to that Motion to Compel on July 1, 2021. Dkt. 232-4. In the Opposition, Google stated again that

23 “to comply [with Plaintiffs’ request], Google would have to reverse engineer unauthenticated

24 identifiers from Google Account-keyed information. But Google need not create new information

25 to satisfy Plaintiffs.” Id. at 1.

26           26.     On June 28, 2021, Google produced additional Google Account subscriber
27 information associated with Plaintiff Guzman’s belatedly provided Google Account information

28 (GOOG-CALH-00061943 - GOOG-CALH-00061945).

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 1          27.       On June 29, 2021, Google produced inferred interests and ads personalization data

 2 associated with Plaintiffs’ Google Accounts (GOOG-CALH-00061946–GOOG-CALH-00061976).

 3          28.       On July 1, 2021, Google produced gCases data associated with Plaintiff Kindler’s

 4 Google Account (GOOG-CALH-00061977–GOOG-CALH-00061978).

 5          29.       On July 2, 2021, the parties filed a Joint Submission re: Nominations for a Special

 6 Master and Proposed Orders. Dkt. 235.

 7          30.       On July 13, 2021, the Court issued an Order Appointing Special Master, Dkt. 246,

 8 and referred the dispute regarding production of Plaintiffs’ data to Special Master Brush. Dkt. 247.

 9          31.       On July 15, 2021, Google produced additional inferred interests and ads

10 personalization data associated with Plaintiffs’ Google Accounts (GOOG-CALH-00072863–

11 GOOG-CALH-00072985).

12          32.       In July and August 2021, Google developed pipelines to preserve additional

13                data associated with Plaintiffs’ Google Accounts and Biscottis extracted from the cookie

14 values Plaintiffs provided (adding to the Litigation Hold Data). Google did not preserve Zwieback-

15 keyed data because Zwieback ID is not used to key the data at issue: data generated when users visit

16 a third-party website that uses Google Analytics or Ad Manager; it is set in cookies by google.com

17 domains, such as Google Search. See Brown 6/16/21 Berntson Depo Tr. at 77:23–78:4 (Q. Does

18 Google Analytics use Zwieback? A. It’s slightly complicated, but the answer is they leverage

19 Zwieback but they’re not keying data off the Zwieback like searches.”); 82:4–8 (“Google Ad

20 Manager doesn’t use Zwieback[.]”); see also Brown 11/19/21 Adhya Depo Tr. at 167:10–17 (Q You

21 said [Zwieback ID is] used on the google.com domain. I’m just wondering if you know if it’s used

22 anywhere else? A It’s used in any of the kind of the -- what we call country code top-level domains,

23 CCTLD. So Google.de, Google.fr, these country-specific domains. So anything that’s kind of like

24 Google asterisk star, any of those domains.”). A true and correct copy of excerpts of the June 16,

25 2021 Berntson Deposition transcript is attached hereto as Exhibit 5. A true and correct copy of

26 excerpts of the November 19, 2021 Adhya Deposition transcript is attached hereto as Exhibit 6.
27          33.       On August 9, 2021, Google produced additional gCases data associated with

28 Plaintiffs’ Google Accounts (GOOG-CALH-00430027–GOOG-CALH-00430035);

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 1          34.    On August 24, 2021, for a newly added Plaintiff, Google produced additional Google

 2 Account subscriber information, My Activity information,               data, inferred interests and ads

 3 personalization data, and X-Client Data Header information (GOOG-CALH-00492265– GOOG-

 4 CALH-00492852).

 5          35.    On September 29, 2021, Google produced records of Plaintiffs’ consent to various

 6 Google disclosures (GOOG-CALH-00592132–GOOG-CALH-00592280).

 7          36.    On October 6, 2021, for a newly added Plaintiff, Google produced additional My

 8 Activity information,             data, and inferred interests and ads personalization data (GOOG-

 9 CALH-00648520–GOOG-CALH-00651646).

10          37.    On October 15, 2021, for a newly added Plaintiff, Google produced additional

11 Google Account subscriber information, My Activity information,                    data, and inferred

12 interests and ads personalization data (GOOG-CALH-00651649–GOOG-CALH-00652279).

13          38.    On October 20, 2021, Google produced Plaintiffs’ Google Account activity controls

14 record (GOOG-CALH-00652283).

15          39.    On October 22, 2021, Google produced Plaintiffs’ Google Account privacy checkup

16 record (GOOG-CALH-00652284–GOOG-CALH-00652285).

17          40.    On November 4, 2021, Google produced additional records of Plaintiffs’ consent to

18 various Google disclosures (GOOG-CALH-00660110–GOOG-CALH-00660116).

19 Production of Plaintiff Data Under the Special Master Process

20          41.    Following Mr. Brush’s appointment on July 13, 2021 as Special Master (Dkt. 220),

21 on July 30 and September 15, 2021, Google participated in Zoom conferences with Plaintiffs before

22 the Special Master.

23          42.    On September 16, 2021, the Court issued an Order setting forth a funneled three-step

24 process for the Special Master discovery whereby (1) potentially relevant sources are identified, (2)

25 additional information is provided for a subset of those sources, and (3) a further subset of those

26 sources is then searched. Dkt. 309.
27

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 1          43.     Pursuant to the order and the Special Master’s instructions, on September 17, 2021,

 2 Google identified        potentially relevant data sources, including the name of the data source, a

 3 description of each data source’s purpose and function, and information about their retention status.

 4          44.     On September 23, 2021, Google participated in a Zoom conference with Plaintiffs

 5 before the Special Master.

 6          45.     Pursuant to the Special Master’s instruction, on September 27, 2021, Google

 7 identified the     Litigation Hold Data sources from the        potentially relevant data sources, and

 8 provided additional information regarding sources Plaintiffs selected, including schema/fields, field

 9 descriptions, and documents relevant to searching and working with the requested sources.

10          46.     On September 30, 2021, Plaintiffs asked the Special Master to order Google to

11 produce the Named Plaintiff data Google “has preserved but not yet produced.” Attached hereto as

12 Exhibit 7 is a true and correct copy of Plaintiffs’ September 30, 2021 letter to the Special Master.

13          47.     On October 5 and October 12, 2021, Google participated in Zoom conferences with

14 Plaintiffs before the Special Master. During the conferences, Plaintiffs again requested the

15 production of the Litigation Hold Data. The Special Master consistently denied Plaintiffs’ request.

16          48.     On October 8 and October 16, 2021, Google produced                  ,           , and

17 UMA data associated with Plaintiffs’ Google Accounts and UMA identifiers (GOOG-CALH-

18 00651647–GOOG-CALH-00651648;                   GOOG-CALH-00652280–GOOG-CALH-00652282).

19 Google also ran searches across several additional data sources pursuant to Plaintiffs’ request, which

20 did not return data.

21          49.     On October 20, 2021, the Special Master issued a report finding that “Google has

22 engaged in and is, at the time of this Special Master’s Report and Recommendation, in the process

23 of producing relevant, responsive materials for the respective Plaintiffs under the supervision and

24 as a direct result of the Special Master’s intervention in resolving disputes referred to the Special

25 Master” (“October 20 R&R”). Dkt. 351 ¶ 50.

26          50.     On November 4, 2021, the parties had a live in-person hearing before this Court
27 regarding the Special Master’s report and recommendation. At the hearing, the Court stated: “To

28 the extent my Orders predate referral to the Special Master, I view those as a starting point, and then

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 1 I referred the matter to the Special Master, expecting the application of his expertise and his work

 2 and time with you all, to really hone and fine tune my Order as his expertise determines, to frankly,

 3 better hone it and bring it within any parameters with regards to what is relevant and proportional.”

 4 Brown 11/4/21 Hrg. Tr. at 6:10–16. A true and correct copy of excerpts of the November 4, 2021

 5 hearing transcript is attached hereto as Exhibit 8.

 6          51.     On November 12, 2021, the Court issued an Order laying out steps to conclude the

 7 Special Master process. See Dkt. 377 at 6 (“The requests for production from Google must and will

 8 come to an end as provided for in Exhibit 1.”) Among other things, the Court adopted the Special

 9 Master’s October 20, 2021 recommendation, and directed Google to provide “a full list of all data

10 sources which have been searched during the overall discovery process, . . . includ[ing] . . . a list of

11 all bates ranges in the production(s) associated with each searched data source identified specifically

12 by data source.” Dkt. 377 at 10. The Court also directed Google to provide a declaration that “[a]ll

13 responsive data related to the Named Plaintiffs have been produced from all searched data sources

14 in the respective prior searches.” Id.

15          52.     On November 18, 2021, Google provided the list of data sources and declaration

16 required by the November 12 Order. Dkt. 383. Because the Special Master had denied Plaintiffs’

17 request for production of the Litigation Hold Data, Google understood the relevant provisions of the

18 October 20 R&R and November 12 Order to refer to the data Google searched for purposes of

19 production, not the Litigation Hold Data.

20          53.     On November 22, 2021, the Special Master team confirmed that the documents

21 Google provided “satisfy the [November 12 Order’s] requirements.” Attached hereto as Exhibit 9

22 is a true and correct copy of the Special Master team’s November 22, 2021 email to the parties.

23          54.     On December 6, 2021, Google produced DBL            data related to Plaintiffs (GOOG-

24 CALH-00797544–GOOG-CALH-00804951).

25          55.     On December 29, 2021, pursuant to the Special Master’s request, Plaintiffs submitted

26 their first rounds of search requests, requesting Google to search          GAIA IDs and more than
27 unauthenticated identifiers across       selected data sources, including      data sources from which

28 the Litigation Hold Data was preserved, a fact Google disclosed on September 27, 2021. Plaintiffs

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 1 also repeated their request that “Google produce all data that it has previously identified as being

 2 ‘preserved’ for Plaintiffs but not produced,” and attached an Excel spreadsheet labeled “G - List of

 3 Data Sources Google States are Preserved But Not Produced.” Attached hereto as Exhibits 10 and

 4 11 are true and correct copies of the Plaintiffs’ December 29, 2021 letter to the Special Master team

 5 and the attached Excel spreadsheet, respectively.

 6          56.      The Special Master team confirmed on December 30, 2021 that “Special Master

 7 Brush has determined that [Plaintiffs’ request for ‘Production of Data Google Has Preserved But

 8 Not Produced’ is] outside the scope of Exhibit 1, Section 4 [of the November 12, 2021 Order.]”).

 9 Attached hereto as Exhibit 12 is a true and correct copy of the Special Master team’s December 30,

10 2021 email to the parties.

11          57.      Pursuant to the Special Master’s instruction, Google ran the requested searches

12 (including searches on identifiers provided by Plaintiffs’ expert, Dr. Shafiq, because Plaintiffs

13 claimed they may get only null sets for the identifiers provided by Plaintiffs), and produced all

14 responsive data on January 7, January 8, January 11, January 12, January 13, January 31, and

15 February 7, 2022 (including data from logs that contain confidential third-party information, which

16 was produced after all relevant publishers received reasonable notice).

17          58.      For the selected           logs (   of the    selected sources), Google ran searches

18 using the Dremel tool pursuant to the Special Master’s instruction. See, e.g., 2/26/22 email from the

19 Special Master team (“Special Master Brush orders the Parties to hold an initial meeting with their

20 respective experts to design a methodology for finishing Dremel tool searches. Additionally, the

21 Dremel tool results will aid and create searches of historical data sets for sources identified by Brown

22 and Calhoun Plaintiffs.”). Attached hereto as Exhibit 13 is a true and correct copy of the

23 Special Master team’s February 26, 2022 email to the parties. The searches and production of data

24 in             logs were limited to the data generated during the most recent          window because

25 that is the data queryable by Dremel. See Dkt. 361-6 at 4.

26          59.      From December 2021 to February 23, 2022, Plaintiffs repeatedly renewed their
27 request for the Litigation Hold Data, and the Special Master denied that request each time. See, e.g.,

28 Dkt. 669-12 at 6 (Google’s January 25, 2022 letter) (“At the January 19, 2022 meeting, the Special

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 1 Master responded to Plaintiffs’ request that Google produce all preserved data by noting that there

 2 is a difference between preserving, searching, and producing data.”).

 3          60.    At the February 24, 2022 meeting before the Special Master, Plaintiffs renewed their

 4 request again, and the Special Master stated, “So we have the issue of preservation, searching, and

 5 production. If there are things that were withheld, the respondent has the right under certain

 6 circumstances not to produce it.” 2/24/22 SM Hrg. Tr. at 93:9–13. A true and correct copy of

 7 excerpts of the February 24, 2022 Special Master hearing transcript is attached hereto as Exhibit 14.

 8          61.    On February 25, 2022, the parties discussed the issue of production of the Litigation

 9 Hold Data in a joint discovery chart. Dkt. 510 at 3–6 (Dispute 1.3).

10          62.    At the February 28, 2022 discovery hearing, Google again explained that “there is

11 data that is keyed off certain IDs that were provided, and that data was preserved.” 2/28/22 Hrg. Tr

12 at 25:18–19. The Court ordered Plaintiffs “to have that conversation with the Special Master.” Id.

13 at 80:2–3. A true and correct copy of excerpts of the February 28, 2022 hearing transcript is attached

14 hereto as Exhibit 15.

15          63.    On March 2, 2022, pursuant to the Court’s Order, relevant Google engineers

16 participated in a Zoom conference with Plaintiffs before the Special Master and explained the status

17 of the Litigation Hold Data.

18          64.    During the March 3, 2022 Zoom conference before the Special Master, the Special

19 Master ordered Google to prioritize production of the Litigation Hold Data from data sources that

20 do not contain confidential publisher information. 3/3/22 SM Hrg. Tr at 83:2–6. A true and correct

21 copy of excerpts of the March 3, 2022 Special Master hearing transcript is attached hereto as Exhibit

22 16.

23          65.    On the same day, Google wrote to the Special Master and Plaintiffs: “As requested

24 by the Special Master, Google will be producing the preserved but not yet produced                log

25 data for both Brown and Calhoun Plaintiffs as soon as practicable. Google is in the process of parsing

26 out data in the logs that do not contain confidential third party publisher information and do not
27 require publisher notification. Given the volume of data Google preserved, we are still trying to

28 determine how long it will take to produce and the mechanism by which we can make such data

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 1 available to Plaintiffs.” Attached hereto as Exhibit 17 is a true and correct copy of Google’s March

 2 3, 2022 letter.

 3          66.      On March 5, 2022, in a joint submission to the Special Master, Google stated:

 4 “Pursuant to the Special Master’s instructions earlier this week, Google will be producing the

 5 preserved data from              logs that do not contain confidential third party information no later

 6 than Thursday, March 10.” Attached hereto as Exhibit 18 is a true and correct copy of the March 5,

 7 2022 joint submission.

 8          67.      On the same day, in a Zoom conference with Plaintiffs before the Special Master,

 9 Google further explained the burden associated with producing the data: “what we were told by Ben

10 [Kornacki], the -- one of the engineers who, you guys all had a chance to spend time with, over this

11 last week with regard to this data, and he wrote the preserved data is not in an optimized format.

12 And since each log has a different configuration I have to manually go through each one to make

13 sure I am processing it correctly . . . For example, I had to write lines of [SQL] code, yesterday, just

14 to get some information for you and that wasn’t the full data set, because some of the preserved data

15 records can’t be read through Dremel. Meaning, I will have to write a Python or C++ script to get

16 the exact data size, and to do any further processing to produce the data. So, it’s just -- they’re all

17 out of steps here that -- because of the way this data is subject, you know, was being held, essentially,

18 subject to a litigation hold.” 3/5/22 SM Hrg. Tr. at 44:18-45:12. A true and correct copy of excerpts

19 of the March 5, 2022 Special Master hearing transcript is attached hereto as Exhibit 19.

20          68.      On March 8, 2022, in a joint submission to the Special Master, Google provided a

21 list of all Litigation Hold Data sources. A true and correct copy of the March 8, 2022 submission to

22 the Special Master is attached hereto as Exhibit 20.

23          69.      During the March 8, 2022 Zoom conference before the Special Master, Google

24 explained that it would be unduly burdensome to produce data from all sources that contain

25 confidential third-party information, and proposed “identifying a subset of the most relevant third-

26 party publishers . . . for which the majority of information is tied to . . . And then once they’ve had
27 reasonable notice,” Google will produce that information to Plaintiffs. 3/8/22 SM Hrg. Tr. at 14:20–

28

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 1 15:3. Plaintiffs asked Google to put the proposal in writing. Id. at 21:10–12. A true and correct copy

 2 of excerpts of the March 8, 2022 Special Master hearing transcript is attached hereto as Exhibit 21.

 3          70.    On the same day, Google sent a letter proposal to Plaintiffs and the Special Master,

 4 which states: “1. Google provides to Plaintiffs and the Special Master lists of all fields that have

 5 data in the logs containing publisher confidential information. . . . 3. Under the Special Master’s

 6 guidance, the parties will cooperate to select a subset of 10 publishers no later than March 18, 2022.

 7 This will allow Google to complete the notification process in a timely and less burdensome manner

 8 and complete production prior to March 31, 2022. . . .” Attached hereto as Exhibit 22 is a true and

 9 correct copy of Google’s March 8, 2022 letter.

10          71.    On March 9, 2022, Google produced all the Litigation Hold Data from              logs

11 that do not contain confidential third-party data (GOOG-CALH-01192189–GOOG-CALH-

12 01192190). On March 10, 2022, Google produced all the Litigation Hold Data from

13 corpora.

14          72.    At the March 13, 2022 Zoom conference before the Special Master, Google

15 explained that: “I think where we are is our offer of this compromise of the 10 has been rejected, so

16 it’s over to you. We have two different positions. We still need some guidance on the preservation

17 -- sorry, the publisher point.” 3/13/22 SM Hrg. Tr. at 52:13–17. The Special Master noted that: “I

18 think we’re going to have to reconvene. . . . And I would like, in the meantime, to re -- to have

19 Plaintiffs talk to [their expert] and come up with a better solution than everything, because you’re

20 not getting everything.” Id. at 53:6–19. A true and correct copy of excerpts of the March 13, 2022

21 Special Master hearing transcript is attached hereto as Exhibit 23.

22          73.    At the March 14, 2022 Zoom conference before the Special Master, Google reiterated

23 that: “We simply ask that we don’t have to provide notice to             of different publishers. You

24 can focus on […] the publishers that would be most important.” 3/14/22 SM Hrg. Tr. at 29:4–7. The

25 Special Master stated: “We have a subset of data that was preserved that did not need publisher

26 consent that is now produced to Plaintiff. That should provide enough information to allow us to
27 key more targeted searches for Plaintiff data. My suggestion is that we come up with a set of search

28 criteria that can then be run on the preserved data that has not been produced that needs third-party

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 1 consent.” Id. at 69:15–24. A true and correct copy of excerpts of the March 14, 2022 Special Master

 2 hearing transcript is attached hereto as Exhibit 24.

 3          74.    On the same day, the parties submitted another joint discovery chart, in which Google

 4 stated that “The only outstanding item now is production of the preserved data from logs that contain

 5 confidential publisher information, for which Google has submitted a proposal for the Special

 6 Master. Specifically, in response to the Special Master’s request, Google submitted a reasonable

 7 and practical proposal that Google target notice and production of logs that contain confidential

 8 publisher information to a sample of publishers. For Google to contact and provide notice to

 9            of publishers would be impossible to accomplish within the timelines the parties need to

10 close out this process. Google awaits the Special Master’s guidance on this last outstanding item.”

11 Dkt 559-3 at 6.

12          75.    On March 15, 2022, Google participated in a Zoom conference with Plaintiffs before

13 the Special Master. At the conference, the Special Master noted that “[j]ust because they’re

14 preserved doesn’t mean they get produced,” and that the Litigation Hold Data “had not been

15 searched really at a level that would meet the standard threshold that I would allow for production

16 until it’s using search criteria that’s agreed upon and responsive before it gets produced. . . . The

17 judge and I have already conferred on it. I mean, this is the direction of where we’re going because

18 it’s built around a set of parameters we’ve been doing in this case.” 3/15/22 SM Hrg. Tr. at 30:23–

19 24, 31:21–25, 53:10–13. Plaintiffs agreed to follow the Special Master’s instruction and stated: “We

20 are going to work with our expert to come up with additional search proposals for the historical logs

21 that need publisher notice.” Id. at 57:22–24. A true and correct copy of excerpts of the March 15,

22 2022 Special Master hearing transcript is attached hereto as Exhibit 25.

23          76.    On March 22, 2022, Google sent to Plaintiffs and the Special Master a list of all

24 publishers associated with the Litigation Hold Data that had not been produced because it required

25 publisher consent, and proposed to target notice and productions to a selected subset of 20

26 publishers, which contributed more than                of the data. Attached hereto as Exhibit 26 is a
27 true and correct copy of Google’s March 22, 2022 email with attachment.

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 1          79.      In February and March 2022, pursuant to the Special Master’s instruction, Google

 2 made several additional productions on February 17, February 18, February 22, February 25, March

 3 2, March 3, March 4, March 5, and March 7, 2022, including a list of all       ZWBK            columns

 4 and relevant annotations (produced on February 25, 2022), and a list of all all          GAIA

 5 columns, as well as relevant annotations (produced to the Special Master on March 7, 2022).

 6          80.      Following several orders by the Special Master, on April 6, 2022 Plaintiffs provided

 7 search terms for Google to conduct the final round of searches under the Special Master process.

 8 See, e.g., March 18, 2022 email from Mr. Schmidt (“Search terms and criteria for historical searches

 9 of what was previously searched using only the Dremel tool need to be put together by Plaintiffs

10 using information thus far provided by Google. The search terms need to be provided prior to

11 business opening Monday EDT, March 21, 2022.”); April 1, 2022 email from the Special Master

12 (“Final searches are to be submitted today. I am unsure what is missing for you to supply the final

13 searches.”). A true and correct copy of the Special Master team’s March 18, 2022 email is attached

14 hereto as Exhibit 29. A true and correct copy of the Special Master’s April 1, 2022 email is attached

15 hereto as Exhibit 30.

16          81.      Google ran the provided GAIA IDs and unauthenticated identifiers across

17                corpora,              logs, and           of          columns Plaintiffs selected, and

18 produced all search results that do not contain confidential third-party information on April 22, April

19 28, and April 29, 2022. In its April 28 and April 29, 2022 letters to the Special Master and Plaintiffs,

20 Google also noted that, “as communicated during various Special Master hearings, Google will

21 produce log records that contain confidential third-party data once the implicated publishers have

22 had reasonable notice. In order to minimize undue burden, Google will initiate the third-party

23 notification process once Google has a list of implicated publishers for both Calhoun and Brown

24 Plaintiffs’ final round of searches under the Special Master process.” Attached hereto as Exhibits

25 31 and 32 are true and correct copies of Google’s April 28, 2022 and April 29, 2022 letters,

26 respectively. On May 14, 2022, the Special Master noted that “I now also understand that Google
27 unilaterally decided to make third-party notifications in the Calhoun matter, combined with those

28 made in the Brown matter,” and ordered Google to produce the search results that contain

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 1 confidential publisher information by May 20, 2022. Google complied and produced the data on

 2 May 20, 2022.

 3          82.     On April 22, 2022, Google participated in another Zoom conference with Plaintiffs

 4 before the Special Master. During the conference, the Special Master again ordered Plaintiffs to “put

 5 together just as you’ve done with everything else the search requests that will be against the

 6 historically preserved litigation held data.” 4/2/22 SM Hrg. Tr. at 48:18–21. Plaintiffs agreed to

 7 follow the Special Master’s order. Id. at 7:3–9 (“MR. STRAITE: [Y]ou are asking us to be

 8 reasonable regarding the search process. We, as Plaintiffs, thought it was smarter to get all of the

 9 historically preserved Plaintiffs’ data to inform future searches. We understand that’s been rejected.

10 You said the perfect is the enemy of the good.”); id. at 52:10–53:11 (“MR. STRAITE: I know we

11 have a lot on the Plaintiffs’ side . . . finally, it’s the searches for across the historically preserved

12 data for which notice is required. You’re asking for additional search parameters.”). A true and

13 correct copy of excerpts of the April 2, 2022 Special Master hearing transcript is attached hereto as

14 Exhibit 33.

15          83.     Plaintiffs never provided search parameters for Google to search across the Litigation

16 Hold Data as ordered by the Special Master.

17          84.     On May 27, 2022, Plaintiffs brought the issue before the Court, “seek[ing]

18 production of Named Plaintiffs data that Google searched and preserved long ago,” Dkt. 678 at 1,

19 in response to which the Court ordered Google to produce by June 30, 2022. (Dkts. 700, 722, 746).

20          85.     On June 30, 2022, Google produced all of the Named Plaintiffs’ data that Google

21 had preserved pursuant to the litigation hold but not yet produced.

22 Sync Signal and Schumann Deposition

23          86.     I attended almost all of the conferences before the Special Master, including all

24 conferences in October 2021. I had the main speaking role for Google. I do not recall myself or

25 anyone else denying the existence of “not-synced” signals. However, I recall repeated conversations

26 with Plaintiffs relating to there being no universal un-synced signal that could be used to identify
27 all purported class members.

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 1          87.      On November 23, 2021, Google produced a list of the data sources containing sync-

 2 state signals. Attached hereto as Exhibit 34 is a true and correct copy of Google’s November 23,

 3 2022 submission to the Special Master.

 4          88.      On March 3, 2022, Plaintiffs asked that Google “[c]reate a Do Not Sync (DNS or X-

 5 Not-Synced) signal that Google can store in its existing logs.” Attached hereto as Exhibit 35 is a

 6 true and correct copy of Plaintiffs’ March 3, 2022 correspondence to Special Master Brush.

 7          89.      Plaintiffs requested the deposition of Tim Schumann, Engineering Manager for

 8 Google responsible for the Chrome browser, on May 26, 2021. Because German law prohibits

 9 remote video depositions outside of the Hague Convention procedures, Mr. Schumann could not sit

10 for his remote video deposition in Munich, Germany, where he resides. Due to COVID-19 travel

11 restrictions and precautions, Mr. Schumann could also not travel to the United States to sit for his

12 deposition. On July 26, 2021, the parties met and conferred to discuss this logistical challenge and

13 Plaintiffs proposed Mr. Schumann travel to Zurich, Switzerland to sit for his remote video

14 deposition. Attached hereto as Exhibit 36 is a true and correct copy of Plaintiffs’ July 27, 2021 letter

15 to Google, which describes the parties’ meet-and-confer regarding Mr. Schumann’s deposition.

16          90.      Google agreed to have Mr. Schumann sit for his remote video deposition in Zurich,

17 Switzerland and then took on the burden of preparing the Joint Motion for Issuance of Letter of

18 Request for International Judicial Assistance and Appointment of Commissioners to Take Evidence

19 Pursuant to Chapter II, Article 17 of the Hague Convention of 18 March 1970 on the Take of

20 Evidence Abroad in Civil of Commercial Matters, filed on September 7, 2021. Dkt. 298. On

21 September 9, 2021, the Court issued its order appointing commissioners to take evidence for the

22 requested Schumann deposition. See Dkt. 301.

23          91.      On the same day—September 9, 2021—Plaintiffs served Google with a Rule

24 30(b)(6)       notice   covering    topics   related   to     sync   signals,    including     the   signals:

25 “sync_feature_enabled”, “is_sync_feature_enabled”,                    , and                  Plaintiffs’ Sept.

26 9, 2021 Rule 30(b)(6) Deposition Notice. at 3. Attached hereto as Exhibit 37 is a true and correct
27 copy of Plaintiffs’ September 9, 2021 Rule 30(b)(6) Deposition Notice.

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 1          92.    As a result of Mr. Schumann’s role and familiarity with the Chrome browser sync

 2 infrastructure and Google’s data logging systems as they relate to Chrome sync, Google selected

 3 Mr. Schumann as the corporate designee and offered that the deposition be taken at the same time

 4 as Mr. Schumann’s individual deposition in Switzerland. Plaintiffs agreed. Attached hereto as

 5 Exhibit 38 is a true and correct copy of Plaintiffs’ September 22, 2021 letter to Google

 6 communicating their agreement.

 7          93.    Plaintiffs took the position that it was important to depose Mr. Schumann before their

 8 motion for class certification was due on October 14, 2021 in order “to discover the ways Google

 9 tracks the sync status of Chrome users.” Id. Plaintiffs stated that Google had conceded in a meet-

10 and-confer that it records “sync flag[s]” that may dictate whether Chrome traffic is collected from

11 synced users and expressed that they understand that Google “may also track whether and when a

12 Chrome user elects to sync (and later un-sync) her browser.” Id.

13          94.    On October 1, 2021, the Swiss authorities approved Mr. Schumann’s deposition in

14 Zurich, Switzerland. I made arrangements to travel to and stay in Zurich, Switzerland for Mr.

15 Schumann’s remote deposition to take place on either October 8 or October 11, 2022.

16          95.    On October 4, 2021, Plaintiffs informed Google during a meet and confer that

17 Plaintiffs were not prepared to proceed with Mr. Schumann’s deposition prior to submitting their

18 class certification motion. Plaintiffs then requested a January 2022 date for Mr. Schumann’s

19 deposition. Google proposed January 13, 2022 after confirming the Swiss Commissioner’s

20 availability.

21          96.    Plaintiffs took Mr. Schumann’s individual deposition on January 13, 2022, but never

22 took the Rule 30(b)(6) deposition regarding sync signals. Plaintiffs objected to conducting a Rule

23 30(b)(6) deposition under the Hague process, with Mr. Schumann as the corporate designee. Google

24 had provided repeated assurances that Plaintiffs could ask the same questions as if Mr. Schumann

25 were being deposed in the U.S., and this Court had provided in an order that the deposition could

26 proceed “in accordance with United States law.” Dkt. 301-1. Attached hereto as Exhibit 39 is a true
27 and correct copy of the transcript of Mr. Schumann’s individual deposition.

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 1          I declare under penalty of perjury of the laws of the United States that the foregoing is true

 2 and correct. Executed in Washington, D.C. on July 1, 2022.

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 5
                                                 By:          /s/ Josef Ansorge
 6                                                     Josef Ansorge

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